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   8                            UNITED STATES DISTRICT COURT
   9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  11 FAMOUS BIRTHDAYS LLC,                       CASE NO. 2:21-cv-09562-PA-MRW
  12                                             ORDER GRANTING
                       Plaintiff,                STIPULATION TO EXTEND
  13                                             EXPERT DISCLOSURE AND
                  v.                             REPORT DEADLINES
  14
                                                 Assigned to Hon. Percy Anderson and
  15 SOCIALEDGE, INC., a Delaware                Magistrate Judge Michael R. Wilner
     corporation (dba CreatorIQ),
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  17                   Defendant.
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           ORDER GRANTING STIPULATION TO EXTEND EXPERT DISCLOSURE AND REPORT DEADLINES
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   1              The Parties’ Stipulation to Extend Expert Disclosure and Report Deadlines
   2 was brought before this Court. Upon consideration of the Stipulation, the Court
   3 finds there to be good cause and compelling reasons to grant it, as follows:
   4                    (a)   The Parties shall designate expert witnesses and provide reports
   5        asept required by Fed. R. Civ. P. 26(a)(2)(B) not later than November 11, 2022;
   6                    (b)   The Parties shall designate rebuttal expert witnesses and provide
   7 reports as required by Fed. R. Civ. P. 26(a)(2)(B) no later than November 25, 2022.
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   9              IT IS SO ORDERED.
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                  DATED: September 16, 2022             ________________________________
  12                                                              Percy Anderson
  13                                                         United States District Judge
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           ORDER GRANTING STIPULATION TO EXTEND EXPERT DISCLOSURE AND REPORT DEADLINES
